     Case 2:14-cr-00436-DMG Document 203 Filed 03/29/19 Page 1 of 1 Page ID #:2201



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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               No. CR 14-436-DMG
                                             No. CV 19-1695-DMG
11              Plaintiff,
                                             ORDER STAYING PROCEEDINGS [202]
12                    v.

13 YAIR SHOSHANI,

14              Defendant.

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16         For good cause shown, proceedings in this case are stayed for
17   one year until March 27, 2020.       The government’s opposition to
18   defendant’s 2255 motion shall be filed by April 17, 2020.
19   Defendant's reply shall be filed by May 22, 2020.
20         IT IS SO ORDERED.
21
       March 29, 2019
22     DATE                                      DOLLY M. GEE
                                                 UNITED STATES DISTRICT JUDGE
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